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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                      Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                        MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 DELORES HORAN
 Civil Case #1:20-cv-80


                           NOTICE OF SUGGESTION OF DEATH

       Undersigned counsel, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure,

hereby informs the Honorable Court of the death of Plaintiff Delores Horan.




Respectfully submitted August 19, 2022.


                                                           /s/ David M. Langevin
                                                           David M. Langevin, #329563
                                                           McSweeney/Langevin
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                                                           Minneapolis, MN 55404
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                                                           Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true copy of the attached document was served upon each attorney

of record through the Court’s Electronic Court Filing System.


Dated: August 19, 2022
                                                    /s/ David M. Langevin
                                                    David M. Langevin




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